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         EXHIBIT I
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                                                       COVID-19 Update

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                                                             COVID-19
                                                             Coronavirus

    The Bureau of Prisons (BOP) is carefully monitoring the spread of the COVID-19 virus. As with any type of emergency situation, we
    carefully assess how to best ensure the safety of staff, inmates and the public.

                                                     BOP COVID-19 Modified Operations Plan




                                                          BOP's Emergency Response

      Every institution is like a small city and to cope with major emergencies or other significant interruptions of normal operations, they each
      have continuity of operations (COOP) plans that provide guidance to staff.

                                                                       Learn More




                                                           BOP's COVID-19 Response

      In February 2020, the BOP's Public Health Service (PHS) staff were placed in operational dress uniforms to be ready to respond to COVID-
      19 incidents by the Assistant Secretary for Health.

                                                                       Learn More




                                                   BOP's COVID-19 Collaboration Efforts

      BOP PHS Officers have been deployed for national travel-related screening at airports and NIC has been asked to share BOP-related
      guidance with state and local corrections.


https://www.bop.gov/coronavirus/                                                                                                                         1/5
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                                                                         Learn More




                                                                     Coronavirus.gov

      The primary lane of information for the public regarding Coronavirus (COVID-19) is a portal for public information published by the
      Coronavirus (COVID-19) Task Force at the White House, working in conjunction with CDC, HHS and other agency stakeholders.

                                                                    Go to coronavirus.gov




                                                                         CDC.gov

      The Centers for Disease Control and Prevention (CDC) has established a resource portal on CDC.gov with the latest information from CDC
      and the overarching medical community on COVID-19.

                                                                       Go to cdc.gov




                                                                         USA.gov

      To learn about international travel restrictions, how you can prepare for coronavirus, and what the U.S. government is doing in response to
      the virus, visit https://www.usa.gov/coronavirus

                                                                  Go to usa.gov/coronavirus




                                                                 COVID-19 Cases
    01/13/2021 - The BOP has 123,208 federal inmates in BOP-managed institutions and 13,727 in community-based facilities. The
    BOP staff complement is approximately 36,000. There are 4,905 federal inmates and 2,107 BOP staff who have confirmed
    positive test results for COVID-19 nationwide. Currently, 38,102 inmates and 3,360 staff have recovered. There have been 190
    federal inmate deaths and 3 BOP staff member deaths attributed to COVID-19 disease. Of the inmate deaths, 4 occurred while on
    home confinement. Full breakdown and additional details ...



       Con rmed active cases at 128 BOP facilities and 43 RRCs




https://www.bop.gov/coronavirus/                                                                                                                    2/5
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                                                                                                                                                          Map data ©2021 Google, INEGI

                              [Mouseover facility markers for more information. Zoom in to densely clustered marker areas to see additional locations.]




                                        COVID-19 Inmate Test Information


                                                                              Completed Tests

                                                                                   98,591
                                                                 Number of inmates who have completed testing.




                                                                               Pending Tests

                                                                                       1,332
                                                   Number of inmates with pending tests and no previous completed test.




                                                                               Positive Tests

                                                                                   42,142
                                                               Number of inmates that have ever had a positive test.




                                            Learn more about the data and view individual facility stats +




https://www.bop.gov/coronavirus/                                                                                                                                                         3/5
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                                          COVID-19 Home Confinement Information

    Given the surge in positive cases at select sites and in response to the Attorney General Barr's directives, the BOP began
    immediately reviewing all inmates who have COVID-19 risk factors, as described by the CDC, to determine which inmates are
    suitable for home confinement. Since the release of the Attorney General's original memo to the Bureau of Prisons on March 26,
    2020 instructing us to prioritize home confinement as an appropriate response to the COVID-19 pandemic, the BOP has
    significantly increased its placement of offenders on home confinement. Currently, the BOP has 7,861 inmates on home
    confinement. The total number of inmates placed in home confinement from March 26, 2020 to the present (including inmates
    who have completed service of their sentence) is 20,221.

                                          COVID-19 Home Confinement Information Frequently Asked Questions




    Resources

       Correcting Myths and Misinformation About the BOP and COVID-19


       COVID-19 Visitor/Volunteer/Contractor Screening Tool


       COVID-19 Inmate Screening Tool


       COVID-19 Staff Screening Tool


       Coronavirus (COVID-19) Precautions/Modified Operations for Residential Reentry Centers.


       Coronavirus (COVID-19) Religious Accommodations


       Coronavirus(COVID-19) Resumption of Normal RRC Operations




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     Statistics                Custody & Care                             Application Process                              Publications         Former Inmates
                               Visiting                                   Our Hiring Process                               Research & Reports   Media Reps
                               Voice a Concern

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